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UNITED STA TES DISTRICT COURT
SOUTHE RN DISTRICT OF NEW YORK
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LOLA INGRAM,
                                                                                             STIPULATION AND
                                                                         Plaintiff.          PROTECTIVE ORDER

                                 -against-

STE VEN BANKS, AS COMMISSIOl\TER OF THE NEW
YORK       CITY     HUMAN         RESOURCES
ADMI1'ISTRATION, DEPARTMENT                                       OF       SOCJAL
SERVICES, and FELICIA ELLIS,

                                                                       Defendants.
                                                                                                  .   ·- --- -   -- ---   - ---. ·---
                                                                                                                      -·-----
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                     WHEREAS. the parties to this action have sought certain documents and/or

information from each other in discovery in th is action, documents which the parties deem to be

confidential ; and

                      WHEREAS, the parties object to the production of those documents unless

appropriate protection for the confidentiality of the information contained therein is assured; and

                      WHEREAS, an order entered pursuant to Federal Rule of Evidence 502(d) and

the Court's inherent Authority will allow the parties in this action to conduct and respond to

discovery expeditiously, without fear that disclosure of privileged or protected information wi ll

waive such privilege or protection in this or any other proceeding,

                      NO\\/, THEREFORf~, IT IS HEREBY STIPULATED AND AGREED, by

and between the parties, as follow s:

                      I.         As used herein, "Confidential Materials" shall mean all documents,

te stimony and information concerning :

                     a.          personnel or former personnel employed by the City of New York,
                                 or any of its agencies, including, but not limited to personal
                                 information such as home addresses, telephone numbers, social
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                       security numbers, taxpayer identification numbers and personnel
                       files including all information concerning salary, promotions,
                       discipline and evaluations;

               b.       Equal Employment Opportunity related materials, including, but
                        not limited to, complaints, gender and/or race self-identification
                        infonnation, Equal Employment Opportunity Office files and the
                        infom,ation contained in those files;

                c.      intra- and inter-agency communications and other similar
                        confidential infonnation of the City ofNew York;

                g.      any information of a personal or intimate nature;

                h.      any documents that the parties agree are subject to this stipulation;

                1.      any documents that are designated on the face thereof as
                        "Confidential"';

               J.       any documents that the Court directs to be produced subject to this
                        protective order; and,

                k.      any testimony or discovery response which reveals the contents of
                        materials produced subject tot.his order.

Nothing in the definition of "Confidential Materials" shall be implied, construed or deemed to

require disclosure of any particular information by the parties.

                2.      Documents and information shall not be deemed --confidential Materials"

to the extent, and only to the extent that they are (a) obtained by a party from sources other than

the party producing the Confidential Materials (the "Producing Party"); or (b) arc otherwise

publicly available.

                3.      Neither the party receiving the Confidential Materials (the "Receiving

Party") nor the Receiving Party's attorneys shall use the Confidential Materials for any purpose

other than for the preparation or presentation of the party 's case in this action.

                4.      Neither the Receiving Party nor the Receiving Party's attorneys shall

disclose the Confidential Materials to any person except under the following conditions:



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               a.     Disclosure may be made only if necessary to the preparation or
                      presentation of the party's case in this action;

               b.     Disclosure before trial may be made to the party, an expert or
                      consultant who has been retained or specially employed by the
                      party's attorneys in anticipation of litigation OT preparation for this
                      action, to a witness at deposition OT any individual who has been_....... ~
                      identified as a potential trial witness, or to the Court> &l ~ ( j ~       r r.-   •


                                                                                                 ~ C./1
               5.     Before any disclosure is made to a person listed in subparagraph (b) above
                        ~~,
(other than the Court r r a party to tJlis action), Receiving Party shall provide each such person
                    1
with a copy of this Order, and such person shall consent in writing, in the form annexed hereto as

Exhibit "A," not to use the Confidential Materials for any purpose other than in connection with

the prosecution of this case and not to further disclose the Confidential Materials except in

testimony taken in this case. The signed consent shall be retained by Receiving Party's attorneys

and a copy shall be furnished to Producing Party's attorneys at the conclusion of this action.

               6.      Deposition testimony concerning any Confidential Materials which

reveals the contents of such materials shall be deemed confidential, and each page of the

transcript of such testimony, together with any exhibits referred to therein, shall be prominently

marked as "CONFJDENTIAL."             Such portion of the transcript shall be deemed to be

Confidential Materials within the meaning of this Stipulation and Protec live Order.

               7. Where a Receiving Party wishes to include any documents containing

Confidential Materials or which reveal the contents thereof in any Court filing, they must contact

Producing Party at least 5 business days in advance of such filing, and request the filing of

redacted documents pursuant to Judge Kocltl's Individual Practices and Rules. Alternatively, the

Producing Party may waive the confidential designation, at which point the Receiving Party, if

they desire. may request the filing of redacted documents pursuant to Judge Koeltl's Individual

Rules of Practices in Civil Cases.


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               8.      This Protective Order will survive the termination of the litigation and will

continue to be binding upon all persons to whom Confidential Materials are produced or

disclosed. All documents or information that has been deemed confidential pursuant to this

order, including all copies and non-confom1ing copies thereof: shall remain confidential for all

time.   Once the action has been resolved, including all appeals, the Confidential Material,

including all copies and non-conforming copies thereof, shall not be used by the Receiving Party

for any purpose. Nothing in this Order shall be construed to limit the Producing Party's use of

the Confidential Materials in any manner.

               9. This Protective Order shall apply to all Confidential Materials exchanged

between the parties without regard to when the Confidential Material was produced.

Inadvertent Production

               lO. Any party's production in this proceeding of any documents or other

infonnation protected by the attorney-client privilege, attorney work product protection or any

other privilege or protection recognized by law as well as any non-party personally identifying

information (collectively. ''Protected Material"), whether inadvertent or otherwise, shall not

constitute a waiver of any privilege or protection applicable to that information in this action.

               11. A party that produces Protected Material (the "Producing Party") may demand

that any party receiving Protected Material (the ''Receiving Party") return or destroy the

Protected Material (the "Clawback Demand"). Such demand shall be made promptly after the

Producing Party discovers that the Protected Material was produced and shall state on a privilege

log the Protected Material to be returned or destroyed (including the Bates number of the

document, or if no Bates number appears on the document, sufficient information to identify the

document) and the basis for the claim of privilege or protet:tion.



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               12.    Upon receiving a Clawback Demand, the Receiving Party shall within five

(5) business days, destroy the Protected Matc1ial or return it to the Producing Party, including

any copies, and notify any third-party to whom the Receiving Party sent such identified

Protected Material to return it to the Producing Party or destroy it. The Receiving Party shall

provide written assurance of these actions within five (5) days of receiving a Clawback Demand.

If the document or information subject to the Clawback Demand contains protected material only

in part, then the Producing Party shall, within five (5) business days of the Clawback Demand,

produce redacted versions of the documents subject to the Clawba1.:k Demand.

               13.    If the Receiving Party identifies a document or record produced by the

Producing Party that appears to be Protected Material it shall immediately notify the Producing

Party of the existence of the document, including the Bates number of the document, or if no

Bates number appears on the document, sufficient infonnation to identify the document so that

the Producing Party may make a Clawhack Demand.

               14.    If a Receiving Party disagrees with a Producing Party's claim that certain

documents or information constitutes Protected Material, then, within five (5) business days of

receiving the Clawback Demand, the Receiving Party may move the Court for an Order

compelling production of any of the documents or information covered by the Clawback

Demand, (or, in the case of redacted documents, compelling that the redactions be removed).

The motion shall not assert as a ground for production the fact that such documents or

information was previously produced, nor shall such motion disclose or otherwise refer to the

content of the documents or infonnation (_beyond any infonnation appearing on the above-

referenced privileged log, or any portion of the document that the parties agree is not Protected

Material).



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                15.     The Receiving Party shall not disclose Protected Material to any person or

entity that has not already had access to the material afier receiving a Clawback Demand.

Disclosure of Protected Material before a Receiving Party receives a Clawback Demand shall not

be a violation of this Order.

                16.     The Producing Party shall not, by reason of producing Protected Material,

move to disqualify counsel for any Receiving Party whether or not the Receiving Party contests

the Producing Party's claim that it is Protected Material.

                17.     This Order may he changed only by further agreement of all parties in

writing or by Order of the Court and is without prejudice to the right of any party to seek

modification of this Order by application to the Court on notice to the other parties. Nothing in

this Order shall preclude any party from seeking judicial relief, in good faith and upon notice to

the other parties, with regard to any provision hereof.

                18.     Nothing in this Order sha11 restrict the use or disclosure of any documents

or infonnation that is or becomes public or that is obtained through lawful means independent of

discovery in this proceeding, even if fhe same documents or infonnation are produced in this

litigation and arc designated as Confidential or Protected Material.

                19.     A party's compliance with the terms of this Order shall not operate as an

admission by that party that any particular document or infonnation is or is not {a) relevant, (b)

privileged, or (c) admissible in this action .

                20.     The Com1 shall retain jurisdiction over any matter or dispute arising from

or relating to the implementation of this Order.

                21.     Within 5 business days of the conclusion of this litigation, whether by

settlement or final decision of the Court of last resort, all copies of any confidential documents,



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or documenlc;; containing confidential infonnation, shall be returned to the attorney for

Defendants and all work product documents containing confidential information shall be

destroyed.    Counsel for Plaintiff shall then confinn in writing to defense counsel that the

confidential infonnation bas been returned or destroyed as required by the forgoing sentence.

               22.    Nothing in this Stipulation and Protective Order shall limit the Parties '

own use of its Confidential Materials.

Dated:         New York, New York
               October 3.~, 2020

LAW OFFICES OF LLOYD SOMER                          JAMES E. JOHNSON
A ttorney for Plaint{[! Lola Ingram                 Corporation Counsel of the City of New York
330 Seventh Avenue, 15 th Floor                     Atr.orney for Defendant
New York, NY 1000 I                                 100 Church Street, Room 2-107
(2 l 2) 629-7001                                    New York, New York 10007
                                                    (2 12) 356-3177



l Joyd Somer, Esq.                                  Christopher Turpin
                                                    Assistant Corporation Counsel



SO ORDERED:




                                                                    U.S.D.J.




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                                           EXHIBIT A

                       The undersigned hereby acknowledges that he/she has read the So-

Ordered Stipulation and Confidentiality Or<ler entered in the United States District Court for the

Southern District of New York, on _ _ _ _ _ _ , 2020 in the action entitled Lola Ingram v.

Steven Banks, as Commissioner of the New York c;ty Human Resources Administration.

Department of Social Services. and Felicia Ellis, 19 Civ. 10246 (JGK), or has been advised of its

provisions or contents and understands the terms thereof.

                       I a61Tee not to use the Confidential Material defined therein for any

purpose other than in connection with the prosecution or defense of this case, and will not further

disclose the Confidential Materials except in testimony ta.ken in this case.

                       Tunderstand that it is my responsihility to ensure that, and I hereby agree

to ensure that, all Confidential Materials that I have contact with, as well as all copies notes, and

summanes, and other materials containing or referring to Confidential Materials or the

information contained in the Confidential Materials, including but not limited to all copies,

noted, and summaries that are or were maintained in any form. including but not limited to any

computer hard drive, diskette, CD-ROM, or other electronic storage device must be either

destroyed or returned at the conclusion of this matter.




       Date                                                   Signature




                                                              Print Name



                                                              Occupation
